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                                         UNITED STATES BANKRUPTCY COURT
              7                          EASTERN DISTRICT OF WASHINGTON
              8   In re                                            Chapter 11
              9   EASTERDAY RANCHES, INC., et al.                  Lead Case No. 21-00141-WLH11
                                                                   Jointly Administered
             10                                  Debtors. 1
                                                                   [PROPOSED]
             11                                                    EX PARTE ORDER SHORTENING
                                                                   TIME FOR HEARING ON
             12                                                    DEBTORS’ MOTION FOR ENTRY
                                                                   OF AN ORDER (I) ESTABLISHING
             13                                                    DEADLINES TO FILE
                                                                   ADMINISTRATIVE EXPENSE
             14                                                    CLAIMS AND REJECTION
                                                                   DAMAGES CLAIMS, (II)
             15                                                    APPROVING FORM, MANNER,
                                                                   AND SUFFICIENCY OF NOTICE
             16                                                    THEREOF, (III) APPROVING
                                                                   PROOF OF ADMINISTRATIVE
             17                                                    CLAIM FORM, AND (IV)
                                                                   GRANTING RELATED RELIEF
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             19            THIS MATTER having come before the court upon the ex parte motion (the
             20   “Motion to Shorten Time”) 2 of the above-captioned debtors and debtors in possession,
             21   for the entry of an order shortening time for hearing on the Debtors’ Motion for Entry
             22   of an Order (I) Establishing Deadlines to File Administrative Expense Claims and
             23   Rejection Damages Claims, (II) Approving Form, Manner, and Sufficiency of Notice
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                      The Debtors along with their case numbers are as follows: Easterday Ranches, Inc. (21-
             26       00141) and Easterday Farms, a Washington general partnership (21-00176).
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                      Capitalized terms used but not defined herein shall have the meanings ascribed to them in
             27       the Motion to Shorten Time.
             28                                                      P ACHULSKI S TANG                   B USH K ORNFELD           L LP
                      ORDER SHORTENING TIME – Page 1                 Z IEHL & J ONES L LP                        LAW OFFICES
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              1
                  Thereof, (III) Approving Proof of Administrative Claim Form, and (IV) Granting
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                  Related Relief (the “Motion”). The court, having reviewed the Motion to Shorten Time,
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                  the Motion, the Declaration of Peter Richter filed in support thereof, and the record and
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                  files herein, finds cause exists to grant the requested relief. Now, therefore, it is hereby
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                         ORDERED as follows:
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                         1.     The Motion to Shorten Time [ECF No. ____] is GRANTED.
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                         2.     The time for hearing on the Motion is shortened to April 7, 2022, at 2:30
              8
                  p.m. Pacific Time (the “Hearing”).
              9
                         3.     Any responses or objections to the Motion may be filed with the court and
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                  served on counsel for the Debtors up to the time of the Hearing.
             11
                                                   /// END OF ORDER ///
             12
                  Presented by:
             13
                  BUSH KORNFELD LLP
             14

             15   THOMAS A. BUFORD, III (WSBA 52969)
                  BUSH KORNFELD LLP
             16
                  RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
             17   JEFFREY W. DULBERG (Admitted Pro Hac Vice)
             18   JASON H. ROSELL (Admitted Pro Hac Vice)
                  PACHULSKI STANG ZIEHL & JONES LLP
             19
                  Attorneys for Debtors and Debtors in Possession
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             28                                                     P ACHULSKI S TANG                  B USH K ORNFELD           L LP
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